884 F.2d 1390Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Gary Steven MANDEL, Defendant-Appellant.
    No. 87-7362.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 17, 1989.Decided Aug. 30, 1989.
    
      Gary Steven Mandel, appellant pro se.
      Joseph Sedwick Sollers, (Office of the United States Attorney), for appellee.
      Before HARRISON L. WINTER and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Gary Steven Mandel appeals from the district court's order denying Mandel's motion for a new trial under Fed.R.Crim.P. 33.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Mandel, CR No. 85-156-JH (D.Md. Jun. 30, 1987).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    